









02-10-164-CV














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COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

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NO. 02-10-00164-CV 

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  Brett Arnold and Patricia A.
  Rudder
  
  
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  APPELLANTS
  
 
 
  
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  V.
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  B.R. Israel
  
  
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  APPELLEE 
  
 


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FROM THE
141st District Court OF Tarrant
COUNTY

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MEMORANDUM OPINION[1] AND
JUDGMENT

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On December
1, 2010, we notified appellants
that their brief had not been filed as required by Texas Rule of Appellate
Procedure 38.6(a).&nbsp; See Tex. R.
App. P. 38.6(a).&nbsp; We stated we could
dismiss the appeal for want of prosecution unless appellants or any party desiring to
continue this appeal filed with the court within ten days a response reasonably
explaining the failure to timely file a brief.&nbsp;
See Tex. R. App. P. 38.8(a)(1).&nbsp;
We have not received any response.

Because
appellants'
brief has not been filed, we dismiss the appeal for want of prosecution.&nbsp; See Tex. R. App. P. 38.8(a)(1),
42.3(b), 43.2(f).

Appellants shall pay all costs of this
appeal, for which let execution issue.

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PER CURIAM

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PANEL:&nbsp; LIVINGSTON, C.J.; DAUPHINOT
and GARDNER, JJ.&nbsp; 

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DELIVERED:&nbsp; December 30, 2010&nbsp; 








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[1]See Tex. R. App. P. 47.4.







